              Case:18-05288-ESL11 Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                                                 Desc: Main
                                         Document Page 1 of 52
 Fill in this information to identify the case:

 Debtor name                                      SKYTEC, INC.

 United States Bankruptcy Court for the:
                          District of Puerto Rico, Hato Rey Division

 Case number (if known):              18-05288 (ESL)
                                                                                                                                            ❑Check if this is an
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



         ❑
         X      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑
         X      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑
         X      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑
         X      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑
         X      Schedule H: Codebtors (Official Form 206H)

         ❑
         X      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.




                                                                                ✘
         Executed on 10/04/2018
                          MM/ DD/ YYYY                                                                              /s/ HENRY L. BARREDA
                                                                                      Signature of individual signing on behalf of debtor


                                                                                       HENRY L. BARREDA
                                                                                      Printed name


                                                                                      PRESIDENT
                                                                                      Position or relationship to debtor




Official Form B202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case:18-05288-ESL11
 Fill in this information to identify the case:       Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                         Desc: Main
                                                             Document Page 2 of 52
 Debtor name                                SKYTEC, INC.

 United States Bankruptcy Court for the:
                        District of Puerto Rico, Hato Rey Division

 Case number (if known):          18-05288 (ESL)
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.

 Part 1: Cash and cash equivalents


       1. Does the debtor have any cash or cash equivalents?

     ❑No. Go to Part 2.
     ✔Yes. Fill in the information below.
     ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of debtor's
                                                                                                                                            interest


                                                                                                                                                          $2,100.00
       2. Cash on hand



       3. Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)            Type of account                          Last 4 digits of account number

       3.1 FirstBank                                                   Checking account                             0705                                $370,358.00

       3.2 FirstBank                                                   Checking account                             1221                                  $1,452.00

       3.3 Banco Santander                                             Checking account                             8837                                  $9,833.00

       3.4 Banco Santander                                             Checking account                             8845                                 $49,879.00


       4. Other cash equivalents (Identify all)

       Name of institution (bank or brokerage firm)
       None

       5. Total of Part 1

       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                                                  $433,622.00



 Part 2: Deposits and prepayments
Debtor        Case:18-05288-ESL11
               SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                          Entered:10/04/18           22:06:34
                                                              number (if known) 18-05288 (ESL)                       Desc: Main
              Name                       Document Page 3 of 52
         6. Does the debtor have any deposits or prepayments?

     ❑No. Go to Part 3.
     ✔Yes. Fill in the information below.
     ❑


                                                                                                                Current value of
                                                                                                                debtor's interest


         7. Deposits, including security deposits and utility deposits




     Description, including name of holder of deposit


     7.1 Royal Properties                                                                                                    $7,717.00


         8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent


     Description, including name of holder of prepayment


     8.1 Geodata Prepaid - Google Service                                                                                    $2,318.00


     8.2 Cooperativa Seguros Multiples                                                                                       $6,430.00


     8.3 Universal Insurance                                                                                                 $2,622.00


     8.4 Municipio de Catano                                                                                                 $3,069.00


     8.5 State Insurance Fund                                                                                                $4,900.00


     8.6 Vendors (Various)                                                                                                 $105,582.00


     8.7 PR Department of Treasury                                                                                          $67,710.00


      9. Total of Part 2.




     Add lines 7 through 8. Copy the total to line 81.                                                                    $200,348.00




 Part 3: Accounts receivable



      10. Does the debtor have any accounts receivable?

     ❑No. Go to Part 4.
     ✔Yes. Fill in the information below.
     ❑


                                                                                                                Current value of debtor's
                                                                                                                interest




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                       page 3
Debtor       Case:18-05288-ESL11
              SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                         Entered:10/04/18           22:06:34
                                                             number (if known) 18-05288 (ESL)                                            Desc: Main
             Name                       Document Page 4 of 52
      11. Accounts Receivable




     11a. 90 days old or less:             $879,327.00                  -                    $0.00                   = ...... ➔               $879,327.00
                                 face amount                                 doubtful or uncollectible accounts


     11b. Over 90 days old:               $1,225,039.00                 -                 $454,138.00                = ...... ➔               $770,901.00
                                 face amount                                 doubtful or uncollectible accounts


      12. Total of Part 3




    Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                                  $1,650,228.00




 Part 4: Investments



      13. Does the debtor own any investments?

     ✔ No. Go to Part 5.
     ❑
     ❑Yes. Fill in the information below.


                                                                                                           Valuation method         Current value of debtor's
                                                                                                           used for current value   interest


      14. Mutual funds or publicly traded stocks not included in Part 1

     Name of fund or stock:


     None

      15. Non-publicly traded stock and interests in incorporated and unincorporated
          businesses, including any interest in an LLC, partnership, or join venture

     Name of entity:                                                           % of ownership:




     None



      16. Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part 1

     Describe:



     None

      17. Total of Part 4




     Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                     page 4
Debtor         Case:18-05288-ESL11
                SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                           Entered:10/04/18           22:06:34
                                                               number (if known) 18-05288 (ESL)                                             Desc: Main
               Name                       Document Page 5 of 52

 Part 5: Inventory, excluding agriculture assets



       18. Does the debtor own any inventory (excluding agriculture assets)?

 ❑No. Go to Part 6.
 ✔Yes. Fill in the information below.
 ❑



  General description                                          Date of the last       Net book value of            Valuation method used Current value of
                                                               physical inventory     debtor's interest            for current value     debtor's interest
                                                                                      (Where available)
 19.     Raw materials
 20.     Work in progress
 21.     Finished goods, including goods held for resale
          COMMUNICATIONS EQUIPMENT AND                          09/11/2018                           $365,333.00    COST                              $365,333.00
          SUPPLIES                                             MM / DD / YYYY

 22.     Other inventory or supplies
          INSTALLATION AND MANUFACTURING                        09/11/2018                           $121,541.00    COST                              $121,541.00
          SUPPLIES                                             MM / DD / YYYY



 23.     Total of Part 5
                                                                                                                                                       $486,874.00
         Add lines 19 through 22. Copy the total to line 84.

 24.     Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ❑No
         ✔Yes
         ❑
         Book value             $365,333.00 Valuation method COST                    Current value            $365,333.00

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)



       27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

 ✔ No. Go to Part 7.
 ❑
 ❑Yes. Fill in the information below.



  General description                                                                  Net book value of           Valuation method used Current value of
                                                                                       debtor's interest           for current value     debtor's interest
                                                                                       (Where available)
 28.     Crops—either planted or harvested
          None

 29.     Farm animals Examples: Livestock, poultry, farm-raised fish
          None

 30.     Farm machinery and equipment (Other than titled motor vehicles)



Official Form 206A/B                                             Schedule A/B: Assets — Real and Personal Property                                     page 5
Debtor         Case:18-05288-ESL11
                SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                           Entered:10/04/18           22:06:34
                                                               number (if known) 18-05288 (ESL)                                             Desc: Main
               Name                       Document Page 6 of 52
          None

 31.     Farm and fishing supplies, chemicals, and feed
          None

 32.     Other farming and fishing-related property not already listed in Part 6
          None


 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.

 34.     Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
 36.     Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles



       38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

 ❑No. Go to Part 8.
 ✔Yes. Fill in the information below.
 ❑



  General description                                                                      Net book value of        Valuation method used Current value of
                                                                                           debtor's interest        for current value     debtor's interest
                                                                                           (Where available)
 39.     Office furniture
          Office Furniture                                                                             $51,185.00    N/A

 40.     Office fixtures
 41.     Office equipment, including all computer equipment and
         communication systems equipment and software
          Office Equipment                                                                             $91,701.00    N/A

 42.     Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles
          None


 43.     Total of Part 7
                                                                                                                                                              $0.00
         Add lines 39 through 42. Copy the total to line 86.




Official Form 206A/B                                             Schedule A/B: Assets — Real and Personal Property                                      page 6
Debtor         Case:18-05288-ESL11
                SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                           Entered:10/04/18           22:06:34
                                                               number (if known) 18-05288 (ESL)                                       Desc: Main
               Name                       Document Page 7 of 52
 44.     Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

 Part 8: Machinery, equipment, and vehicles



        46. Does the debtor own or lease any machinery, equipment, or vehicles?

       ❑No. Go to Part 9.
       ✔Yes. Fill in the information below.
       ❑



  General description                                                                     Net book value of   Valuation method used Current value of
  Include year, make, model, and identification numbers (i.e., VIN, HIN, or               debtor's interest   for current value     debtor's interest
  N-number)                                                                               (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
 47.1      2002 Ford Lincoln Navigator                                                                         Blue Book                           $1,852.00

 47.2      2002 Ford F150                                                                                      Blue Book                           $5,998.00

 47.3      2002 Ford F150                                                                                      Blue Book                            $500.00

 47.4      2003 Acura MDX                                                                                      Blue Book                           $3,995.00

 47.5      2009 Toyota Yaris                                                                                   Blue Book                           $5,300.00

 47.6      2009 Toyota Yaris                                                                                   Blue Book                           $5,300.00

 47.7      2011 Ford Transit                                                                                   Blue Book                           $8,600.00

 47.8      2012 Audi Q7                                                                                        Blue Book                          $15,000.00

 47.9      2014 Acura MDX                                                                                      Blue Book                          $25,495.00

 47.10       2018 Ford F250-Diesel                                                                             Blue Book                          $57,000.00

 48.        Watercraft, trailers, motors, and related accesories Examples: Boats
            trailers, motors, floating homes, personal watercraft, and fishing vesels
             None

 49.        Aircraft and accesories
             None

 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
             None


 51.     Total of Part 8
                                                                                                                                                 $129,040.00
         Add lines 47 through 50. Copy the total to line 87.


       52. Is a depreciation schedule available for any of the property listed in Part 8?

       ✔ No
       ❑
       ❑Yes

       53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

       ✔ No
       ❑
       ❑Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                 page 7
Debtor        Case:18-05288-ESL11
               SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                          Entered:10/04/18           22:06:34
                                                              number (if known) 18-05288 (ESL)                                                 Desc: Main
              Name                       Document Page 8 of 52

 Part 9: Real Property



       54. Does the debtor own or lease any real property?

       ✔ No. Go to Part 10.
       ❑
       ❑Yes. Fill in the information below.



 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest


         Description and location of property                  Nature and extent of        Net book value of           Valuation method used Current value of
         Include street address or other description such      debtor's interest in        debtor's interest           for current value     debtor's interest
         as Assessor Parcel Number (APN), and type of          property                    (Where available)
         property (for example, acreage, factory,
         warehouse, apartment, or office building), if
         available.
         None

 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any addition sheets. Copy the total to line 88.

 57.     Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

 Part 10: Intangibles and Intellectual Property



        59. Does the debtor have any interests in intangibles or intellectual property?

       ❑No. Go to Part 11.
       ✔Yes. Fill in the information below.
       ❑



  General description                                                                     Net book value of            Valuation method used Current value of
                                                                                          debtor's interest            for current value     debtor's interest
                                                                                          (Where available)
 60.     Patents, copyrights, trademarks, and trade secrets
         Copyrights of Names                                                                            $844,393.00     N/A

 61.     Internet domain names and websites
         None

 62.     Licenses, franchises, and royalties
         None

 63.     Customer lists, mailing lists, or other compilations
         Customer List                                                                                         $0.00    Book Value                               $0.00

 64.     Other intangibles, or intellectual property
         Various Softwares                                                                            $1,486,798.00     N/A

 65.     Goodwill



Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                          page 8
Debtor         Case:18-05288-ESL11
                SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                           Entered:10/04/18           22:06:34
                                                               number (if known) 18-05288 (ESL)                                             Desc: Main
               Name                       Document Page 9 of 52
          None


  66.     Total of Part 10
                                                                                                                                                              $0.00
          Add lines 60 through 65. Copy the total to line 89.



 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         ❑No
         ✔Yes
         ❑
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ❑✔ No
         ❑Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

 Part 11: All other assets



        70. Does the debtor own any other assets that have not yet been reported on this form?

        ❑No. Go to Part 12.
        ✔Yes. Fill in the information below.
        ❑

                                                                                                                                               Current value of
                                                                                                                                               debtor's interest


 71.     Notes receivable
         Description (include name of obligor)
         None

 72.     Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         NOL                                                                                                  Tax year:   As of 2016                   $459,202.00

 73.     Interests in insurance policies or annuities
         None

 74.     Causes of action against third parties (whether or not a lawsuit has been filed)
         Lawsuit Against Logistic Systems

         Nature of claim            Costs & Damages

         Amount requested
 75.     Other contingent and unliquidated claims or causes of action of every nature, including
         counterclaims of the debtor and rights to set off claims
         None

 76.     Trusts, equitable or future interests in property
         None

 77.     Other property of any kind not already listed Examples: Season tickets, country club membership


         None


  78.     Total of Part 11
                                                                                                                                                      $459,202.00
          Add lines 71 through 77. Copy the total to line 90.




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 9
Debtor           Case:18-05288-ESL11
                  SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                             Entered:10/04/18           22:06:34
                                                                 number (if known) 18-05288 (ESL)                                                                            Desc: Main
                 Name                      Document Page 10 of 52
  79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
          ✔ No
          ❑
          ❑Yes

 Part 12: Summary




 In Part 12 copy all of the totals from the earlier parts of the form.


  Type of property                                                                                         Current value of                       Current value
                                                                                                           personal property                      of real property


 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                  $433,622.00



 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                      $200,348.00


 82.     Accounts receivable. Copy line 12, Part 3.                                                                        $1,650,228.00


 83.     Investments. Copy line 17, Part 4.


 84.     Inventory. Copy line 23, Part 5.                                                                                    $486,874.00


 85.     Farming and fishing-related assets. Copy line 33, Part 6.


 86.     Office furniture, fixtures, and equipment; and collectibles. Copy                                                         $0.00
         line 43, Part 7.


 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                           $129,040.00


 88.                                                                                                                   ➔
         Real property. Copy line 56, Part 9............................................................................



 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00



 90.     All other assets. Copy line 78, Part 11.                                                   +                      $459,202.00


 91.     Total. Add lines 80 through 90 for each column... 91a.                                                     $3,359,314.00                                    $0.00
                                                                                                                                         + 91b.

 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. ....................................................................                                       $3,359,314.00




Official Form 206A/B                                                                Schedule A/B: Assets — Real and Personal Property                                               page 10
                Case:18-05288-ESL11
 Fill in this information to identify the case:        Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                             Desc: Main
                                                             Document Page 11 of 52
 Debtor name                                   SKYTEC, INC.

 United States Bankruptcy Court for the:
                          District of Puerto Rico, Hato Rey Division

 Case number (if known):             18-05288 (ESL)
                                                                                                                                            ❑Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,     Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                             Amount of claim            Value of collateral
                                                                                                                             Do not deduct the          that supports this
                                                                                                                             value of collateral.       claim

2.1 Creditor’s name                                           Describe debtor’s property that is subject to a lien                     $57,969.00                  $57,000.00
    FIRSTBANK PUERTO RICO                                     2018 Ford F250-Diesel
                                                              Describe the lien
        Creditor's mailing address
                                                              Auto Loan
        P.O. BOX 9146
                                                              Is the creditor an insider or related party?
        San Juan, PR 00908                                    ❑✔ No
        Creditor's email address, if known                     ❑Yes.
                                                              Is anyone else liable on this claim?
        Date debt was incurred Oct 12, 2018                   ❑No
        Last 4 digits of account                              ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        number                          0 2 3 9               As of the petition filing date, the claim is:
        Do multiple creditors have an interest in the same Check all that apply.
        property?                                             ❑Contingent
        ✔ No.
        ❑                                                     ❑Unliquidated
        ❑Yes. Specify each creditor, including this creditor, ❑Disputed
               and its relative priority.


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                               $2,084,690.59




Official Form 206D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
Debtor      Case:18-05288-ESL11
             SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                        Entered:10/04/18           22:06:34
                                                            number (if known) 18-05288 (ESL)                                                 Desc: Main
            Name                      Document Page 12 of 52
                                                                                                                      Column A                  Column B
 Part 1: Additional Page
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous             Do not deduct the         that supports this
 page.                                                                                                                value of collateral.      claim

2.2 Creditor’s name                                          Describe debtor’s property that is subject to a lien                $18,386.00                $25,495.00
    FIRSTBANK PUERTO RICO                                    2014 Acura MDX
                                                             Describe the lien
     Creditor's mailing address
                                                             AUTO LOAN
      P.O. BOX 9146
                                                             Is the creditor an insider or related party?
      San Juan, PR 00908                                     ❑✔ No
     Creditor's email address, if known                      ❑Yes.
                                                             Is anyone else liable on this claim?
     Date debt was incurred Sep 06, 2013                     ❑✔ No
     Last 4 digits of account                                ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number                      1 1 4 2                As of the petition filing date, the claim is:
     Do multiple creditors have an interest in the same Check all that apply.
     property?                                          ❑Contingent
     ✔ No.
     ❑                                                  ❑Unliquidated
     ❑Yes. Have you already specified the relative      ❑Disputed
            priority?
          ❑No. Specify each creditor, including this
                 creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines 2.2




Official Form 206D                               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
Debtor      Case:18-05288-ESL11
             SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                        Entered:10/04/18           22:06:34
                                                            number (if known) 18-05288 (ESL)                                                 Desc: Main
            Name                      Document Page 13 of 52
                                                                                                                      Column A                  Column B
 Part 1: Additional Page
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous             Do not deduct the         that supports this
 page.                                                                                                                value of collateral.      claim

2.3 Creditor’s name                                            Describe debtor’s property that is subject to a lien          $2,008,335.59             $2,137,102.00
    ORIENTAL BANK OF PR                                        ACCOUNTS RECEIVABLE
                                                               COMMUNICATIONS EQUIPMENT AND
     Creditor's mailing address                                SUPPLIES
      P.O. BOX 195115                                          INSTALLATION AND MANUFACTURING
                                                               SUPPLIES
      San Juan, PR 00919
                                                               ACCOUNTS RECEIVABLE
     Creditor's email address, if known
                                                               Describe the lien
                                                               BLANKET LIEN (RECEIVABLES, INVENTORY,
     Date debt was incurred Apr 09, 2008                       ETC.)

                                                               Is the creditor an insider or related party?
                                                                ✔ No
     Last 4 digits of account
     number                          3    6    1    2          ❑
                                                        ❑Yes.
     Do multiple creditors have an interest in the same
     property?                                          Is anyone else liable on this claim?
     ✔ No.
     ❑                                                  ❑No
                                                        ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ❑Yes. Have you already specified the relative
            priority?                                   As of the petition filing date, the claim is:
                                                        Check all that apply.
         For Asset:                                     ❑Contingent
         ACCOUNTS RECEIVABLE
                                                        ❑Unliquidated
         ❑No. Specify each creditor, including this     ❑Disputed
                creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines 2.3

         For Asset:
         COMMUNICATIONS EQUIPMENT AND
         SUPPLIES
          ❑No. Specify each creditor, including this
                 creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines 2.3


         For Asset:
         INSTALLATION AND MANUFACTURING
         SUPPLIES
          ❑No. Specify each creditor, including this
                 creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines 2.3


         For Asset:
         ACCOUNTS RECEIVABLE
          ❑No. Specify each creditor, including this
                 creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines 2.3




Official Form 206D                                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
Debtor      Case:18-05288-ESL11
             SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                        Entered:10/04/18           22:06:34
                                                            number (if known) 18-05288 (ESL)                                                Desc: Main
            Name                      Document Page 14 of 52
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 4
                Case:18-05288-ESL11
 Fill in this information to identify the case:       Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                          Desc: Main
                                                            Document Page 15 of 52
 Debtor name                                 SKYTEC, INC.

 United States Bankruptcy Court for the:
                         District of Puerto Rico, Hato Rey Division

 Case number (if known):            18-05288 (ESL)
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:         unknown                        $0.00
       CRIM                                                   Check all that apply.
                                                              ❑ Contingent
       PO BOX 195378                                          ❑ Unliquidated
       SAN JUAN, PR 00919-5387                                ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               TAXES

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: NOTICE ONLY
2.2 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $0.00                           $0.00
       DEPARTMENT OF LABOR                                    Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
       SAN JUAN, PR
                                                              ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               TAXES

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: NOTICE ONLY




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 6
Debtor      Case:18-05288-ESL11
             SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                        Entered:10/04/18           22:06:34
                                                            number (if known) 18-05288 (ESL)                   Desc: Main
            Name                      Document Page 16 of 52


 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $0.00     $0.00
      FONDO DEL SEGURO DEL ESTADO                      Check all that apply.
                                                       ❑ Contingent
      OFICINA REGIONAL SJ                              ❑ Unliquidated
      PO BOX 42006                                     ❑ Disputed
      SAN JUAN, PR 00940-2006                          Basis for the Claim:
                                                        TAXES
     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: NOTICE ONLY
2.4 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $0.00     $0.00
      INTERNAL REVENUE SERVICE                         Check all that apply.
                                                       ❑ Contingent
      P.O. BOX 7346                                    ❑ Unliquidated
      PHILADELPHIA, PA 19101-7346                      ❑ Disputed
                                                       Basis for the Claim:
     Date or dates debt was incurred
                                                        TAXES

                                                       Is the claim subject to offset?
     Last 4 digits of account                          ✔ No
                                                       ❑
     number                                            ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: NOTICE ONLY
2.5 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $0.00     $0.00
      MUNIPALITY OF CATANO                             Check all that apply.
                                                       ❑ Contingent
      P.O. BOX 428                                     ❑ Unliquidated
      Catano, PR 00963                                 ❑ Disputed
                                                       Basis for the Claim:
     Date or dates debt was incurred
                                                        TAXES

                                                       Is the claim subject to offset?
     Last 4 digits of account                          ✔ No
                                                       ❑
     number                                            ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: NOTICE ONLY




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                   page 2 of 6
Debtor      Case:18-05288-ESL11
             SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                        Entered:10/04/18           22:06:34
                                                            number (if known) 18-05288 (ESL)                   Desc: Main
            Name                      Document Page 17 of 52


 Part 1: Additional Page

2.6 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $0.00     $0.00
      TREASURY DEPARTMENT OF PUERTO                    Check all that apply.
      RICO                                             ❑ Contingent
                                                       ❑ Unliquidated
      P.O. BOX 9022501
                                                       ❑ Disputed
      SAN JUAN, PR 00902-2501
                                                       Basis for the Claim:
     Date or dates debt was incurred                    TAXES

                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account
     number
                                                       ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: NOTICE ONLY




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                   page 3 of 6
Debtor       Case:18-05288-ESL11
              SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                         Entered:10/04/18           22:06:34
                                                             number (if known) 18-05288 (ESL)                                                   Desc: Main
             Name                      Document Page 18 of 52
 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   unknown
       AYALA, LUIS                                                             Check all that apply.
                                                                               ❑ Contingent
       CALLE 5, BO. MAMEYAL D30                                                ✔ Unliquidated
                                                                               ❑
                                                                               ✔ Disputed
                                                                               ❑
       DORADO, PR 00646
                                                                                                    LABOR CLAIM - UNJUST
                                                                               Basis for the claim: DISMISSAL
       Date or dates debt was incurred          Aug 01, 2018                   Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
       Last 4 digits of account number
                                                                               ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $10,825.08
       CANCIO, NADAL, RIVERA & DIAZ, P.S.C.                                    Check all that apply.
                                                                               ❑ Contingent
       P.O. BOX 364966                                                         ❑ Unliquidated
                                                                               ❑ Disputed
       San Juan, PR 00936
                                                                               Basis for the claim: LEGAL SERVICES
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred          Aug 01, 2018                   ✔ No
                                                                               ❑
       Last 4 digits of account number          0   0    0   3                 ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $99,334.53
       CARBONELL TORRES, MIGUEL                                                Check all that apply.
                                                                               ❑ Contingent
       500 CARR. 869 SUITE 501                                                 ❑ Unliquidated
                                                                               ❑ Disputed
       Catano, PR 00962
                                                                               Basis for the claim: LOANS
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred          May 14, 2015                   ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $3,711,945.00
3.4                                                                            Check all that apply.
       LOGISTICS SYSTEMS, INC.
                                                                               ✔ Contingent
                                                                               ❑
       3000 PALMER STREET                                                      ✔ Unliquidated
                                                                               ❑
                                                                               ✔ Disputed
                                                                               ❑
       Missoula, MT 59808
                                                                               Basis for the claim: LAWSUIT
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ❑ No
       Last 4 digits of account number
                                                                               ✔ Yes
                                                                               ❑
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $13,650.00
3.5                                                                            Check all that apply.
       MARTINEZ-COLON, JUAN LORENZO
                                                                               ❑ Contingent
       600 BOULEVARD DE LA MONTANA APT. 460                                    ❑ Unliquidated
                                                                               ❑ Disputed
       San Juan, PR 00926
                                                                                                    PROFESSIONAL
                                                                               Basis for the claim: SERVICES
       Date or dates debt was incurred          May 01, 2018                   Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
       Last 4 digits of account number
                                                                               ❑ Yes




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 4 of 6
Debtor        Case:18-05288-ESL11
               SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                          Entered:10/04/18           22:06:34
                                                              number (if known) 18-05288 (ESL)                                               Desc: Main
              Name                      Document Page 19 of 52
 Part 3: List Others to Be Notified About Unsecured Claims

 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


         Name and mailing address                                                      On which line in Part 1 or Part 2 is the related            Last 4 digits of
                                                                                       creditor (if any) listed?                                   account number,
                                                                                                                                                   if any

 4.1     RODRIGUEZ-VIDAL, CARLOS A.                                                   Line 3.4

         250 MUNOZ RIVERA AVE.                                                        ❑ Not listed. Explain
         San Juan, PR 00918

 4.2     BULL, SAMUEL T.                                                              Line 3.4

         1111 THIRD AVE. SUITE 3000                                                   ❑ Not listed. Explain
         Seattle, WA 98101




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5 of 6
Debtor        Case:18-05288-ESL11
               SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                          Entered:10/04/18           22:06:34
                                                              number (if known) 18-05288 (ESL)                                 Desc: Main
              Name                      Document Page 20 of 52
 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $0.00




  5b. Total claims from Part 2                                                        5b.              $3,839,754.61
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $3,839,754.61
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                              page 6 of 6
              Case:18-05288-ESL11 Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                                             Desc: Main
                                        Document Page 21 of 52
 Fill in this information to identify the case:

 Debtor name                                      SKYTEC, INC.

 United States Bankruptcy Court for the:
                          District of Puerto Rico, Hato Rey Division

 Case number (if known):              18-05288 (ESL)              Chapter   11
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is        LEASE FOR A 2018 FORD F-250 SD              FIRSTBANK PUERTO RICO
2.1     for and the nature of the debtor’s
        interest                                   Contract to be ASSUMED                      P.O. BOX 9146

        State the term remaining                                                               San Juan, PR 00908

        List the contract number of any
        government contract

        State what the contract or lease is        LEASE FOR A 2014 ACURA MDX                  FIRSTBANK PUERTO RICO
2.2     for and the nature of the debtor’s
        interest                                   Contract to be ASSUMED                      P.O. BOX 9146

        State the term remaining                                                               San Juan, PR 00908

        List the contract number of any
        government contract

        State what the contract or lease is        OFFICE PREMISES                             ROYAL PROPERTIES
2.3     for and the nature of the debtor’s
        interest                                   Contract to be ASSUMED                      P.O. BOX 51389

        State the term remaining                                                               Toa Baja, PR 00950
                                                   1 months
        List the contract number of any
        government contract

        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
                Case:18-05288-ESL11
 Fill in this information to identify the case:       Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                         Desc: Main
                                                            Document Page 22 of 52
 Debtor name                                 SKYTEC, INC.

 United States Bankruptcy Court for the:
                         District of Puerto Rico, Hato Rey Division

 Case number (if known):            18-05288 (ESL)
                                                                                                                                         ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                             Mailing Address                                                        Name
                                                                                                                                                     that apply:

  2.1     ASTOR MUNOZ, ANNIE                500 CARR. 869 SUITE 501                                                 ORIENTAL BANK OF PR                ✔D
                                                                                                                                                       ❑
                                            Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                            Catano, PR 00962
                                            City                                      State         ZIP Code



  2.2     BARREDA, HENRY L.                 500 CARR. 869 SUITE 501                                                 ORIENTAL BANK OF PR                ✔D
                                                                                                                                                       ❑
                                            Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                            Catano, PR 00962
                                            City                                      State         ZIP Code
                                                                                                                    FIRSTBANK PUERTO RICO              ❑D
                                                                                                                                                       ❑E/F
                                                                                                                                                       ✔G
                                                                                                                                                       ❑

  2.3     CARBONELL TORRES,                 500 CARR. 869 SUITE 501                                                 ORIENTAL BANK OF PR                ✔D
                                                                                                                                                       ❑
          MIGUEL                            Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                            Catano, PR 00962
                                            City                                      State         ZIP Code



  2.4     DIAZ IGLESIAS, SANDRA             500 CARR. 869 SUITE 501                                                 ORIENTAL BANK OF PR                ✔D
                                                                                                                                                       ❑
                                            Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                            Catano, PR 00962
                                            City                                      State         ZIP Code



  2.5
                                            Street




                                            City                                      State         ZIP Code




Official Form 206H                                                         Schedule H: Codebtors                                                              page 1 of 2
Debtor          Case:18-05288-ESL11
                 SKYTEC, INC.       Doc#:29 Filed:10/04/18 Case
                                                            Entered:10/04/18           22:06:34
                                                                number (if known) 18-05288 (ESL)                               Desc: Main
                Name                      Document Page 23 of 52

          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
                   Case:18-05288-ESL11 Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                                                                                                    Desc: Main
                                             Document Page 24 of 52
 Fill in this information to identify the case:

 Debtor name                                                        SKYTEC, INC.

 United States Bankruptcy Court for the:
                                    District of Puerto Rico, Hato Rey Division

 Case number (if known):                             18-05288 (ESL)                              Chapter           11
                                                                                                                                                                                                      ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                            12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                               $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                         $3,359,314.00

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                       $3,359,314.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                          $2,084,690.59



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                   $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +           $3,835,754.61




 4. Total liabilities..............................................................................................................................................................................                       $5,920,445.20

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                   page 1
                Case:18-05288-ESL11
 Fill in this information to identify the case:       Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34                                         Desc: Main
                                                            Document Page 25 of 52
 Debtor name                                  SKYTEC, INC.

 United States Bankruptcy Court for the:
                          District of Puerto Rico, Hato Rey Division

 Case number (if known):            18-05288 (ESL)
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
         Identify the beginning and ending dates of the debtor’s fiscal year, which may         Sources of revenue                         Gross revenue
         be a calendar year                                                                     Check all that apply                       (before deductions and
                                                                                                                                           exclusions)

        From the beginning of the                                                              ✔ Operating a business
                                                                                               ❑
        fiscal year to filing date:         From 01/01/2018
                                                     MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                               ❑Other                                              $4,086,017.00


        For prior year:                     From 01/01/2017             to    12/31/2016
                                                                                               ✔ Operating a business
                                                                                               ❑
                                                     MM/ DD/ YYYY              MM/ DD/ YYYY    ❑Other                                              $3,870,776.00



        For the year before that:           From 01/01/2016             to    12/31/2016       ✔ Operating a business
                                                                                               ❑
                                                     MM/ DD/ YYYY              MM/ DD/ YYYY    ❑Other                                              $2,891,887.00




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                               Description of sources of revenue           Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the                                                                                                          Total Gross Revenue:
       fiscal year to filing date:         From 01/01/2018             to    Filing date                                                                 $0.00
                                                   MM/ DD/ YYYY


                                                                                                                                          Total Gross Revenue:
       For prior year:                     From 01/01/2017             to    12/31/2016                                                                  $0.00
                                                   MM/ DD/ YYYY               MM/ DD/ YYYY

                                                                                                                                          Total Gross Revenue:
       For the year before that:           From 01/01/2016             to    12/31/2015                                                                  $0.00
                                                   MM/ DD/ YYYY               MM/ DD/ YYYY




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 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ❑None

      Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                        Check all that apply


   3.1.   SEE ATTACHED LIST                                                                             $0.00           ❑Secured debt
          Creditor's name
                                                                                                                        ❑Unsecured loan repayments
          Street
                                                                                                                        ❑Suppliers or vendors
                                                                                                                        ❑Services
                                                                                                                        ✔Other
                                                                                                                        ❑
          , PR
          City                         State     ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount may be adjusted on 4/01/19 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ❑None
      Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



   4.1.   SEE ATTACHED LIST                                                                             $0.00
          Creditor's name


          Street



          , PR
          City                         State     ZIP Code

           Relationship to debtor




 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ✔None
    ❑
      Creditor’s name and address                                Description of the property                                   Date                      Value of property



   5.1.
          Creditor's name


          Street




          City                         State     ZIP Code




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 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
      Creditor’s name and address                                Description of the action creditor took                          Date action was         Amount
                                                                                                                                  taken


   5.1.
          Creditor's name
                                                                  XXXX–
          Street




          City                         State     ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None
   7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

          SKYTEC, INC. VS LOGISTIC                  COLLECTION OF MONIES                       U.S. DISTRICT COURT FOR THE DISTRICT                      ✔Pending
                                                                                                                                                         ❑
          SYSTEMS, INC.                                                                        OF PUERTO RICO
                                                                                              Name
                                                                                                                                                         ❑On appeal
                                                                                                                                                         ❑Concluded
           Case number
                                                                                              Street

          15-02104 (BJM)
                                                                                               SAN JUAN, PR 00901
                                                                                              City                              State   ZIP Code

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑
   8.1.    Custodian’s name and address                          Description of the property                              Value


          Custodian’s name
                                                                 Case title                                               Court name and address
          Street
                                                                                                                         Name

                                                                 Case number                                             Street
          City                         State     ZIP Code



                                                                 Date of order or assignment                             City                           State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑




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   9.1.     Recipient’s name and address                       Description of the gifts or contributions                    Dates given             Value


          Recipient’s name


          Street




          City                         State     ZIP Code


            Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     ❑None
          Description of the property lost and how the loss         Amount of payments received for the loss                         Date of loss       Value of property
          occurred                                                  If you have received payments to cover the loss, for                                lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


    10.1.        BUSINESS INTERRUPTION AND DAMAGES                  $42,512                                                         Sep 20, 2017                $45,000.00
                 TO PROPERTY DUE TO HURRICANE MARIA

 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
     person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
     ❑None


    11.1.        Who was paid or who received the transfer?          If not money, describe any property transferred               Dates                Total amount or
                                                                                                                                                        value

             Fuentes-Hernandez, Alexis                               RETAINER                                                      Sep 12, 2018                  $11,717.00


              Address

             Po Box 9022726
             Street


             San Juan, PR 00902-2726
             City                        State     ZIP Code


              Email or website address



                 Who made the payment, if not debtor?

             SKYTEC, INC.




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 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

    12.1.     Name of trust or device                               Describe any property transferred                             Dates transfers         Total amount or
                                                                                                                                  were made               value




              Trustee




 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

    13.1.    Who received the transfer?                           Description of property transferred or payments                  Date transfer         Total amount or
                                                                  received or debts paid in exchange                               was made              value




             Address


            Street




            City                         State     ZIP Code


             Relationship to debtor




 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
         Address                                                                                                       Dates of occupancy


    14.1.                                                                                                            From                          To
            Street




            City                         State     ZIP Code




 Part 8: Health Care Bankruptcies




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 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.

             Facility name and address                       Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

    15.1.
            Facility name


            Street                                           Location where patient records are maintained(if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.
            City                     State    ZIP Code                                                                                  Check all that apply:
                                                                                                                                        ❑Electronically
                                                                                                                                        ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ❑No.
     ✔Yes.
     ❑                                                                    NAME, ADDRESSES, PHONE NUMBERS, AND EMAIL
              State the nature of the information collected and retained. ADDRESSES
               Does the debtor have a privacy policy about that information?
               ✔ No
               ❑
               ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
     ✔No. Go to Part 10.
     ❑
     ❑Yes. Does the debtor serve as plan administrator?
           ❑No. Go to Part 10.
           ❑Yes. Fill in below:
                     Name of plan                                                                     Employer identification number of the plan

                                                                                                      EIN:           –

                     Has the plan been terminated?
                     ❑No
                     ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
     associations, and other financial institutions.
     ✔None
     ❑
         Financial institution name and address                Last 4 digits of account      Type of account             Date account was            Last balance
                                                               number                                                    closed, sold, moved,        before closing
                                                                                                                         or transferred              or transfer



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    18.1                                                       XXXX–                           ❑Checking
            Name
                                                                                               ❑Savings
                                                                                               ❑Money market
             Street
                                                                                               ❑Brokerage
                                                                                               ❑Other
            City                      State    ZIP Code

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
     ✔None
     ❑
    19.1      Depository institution name and address           Names of anyone with access to it              Description of the contents                    Does debtor
                                                                                                                                                              still have it?

                                                                                                                                                            ❑    No
            Name
                                                                                                                                                            ❑    Yes
             Street

                                                               Address

            City                      State    ZIP Code



 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
     business.
     ✔None
     ❑
    20.1      Facility name and address                         Names of anyone with access to it              Description of the contents                    Does debtor
                                                                                                                                                              still have it?

                                                                                                                                                            ❑    No
            Name
                                                                                                                                                            ❑    Yes
             Street

                                                               Address

            City                      State    ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
     rented property.
     ❑None

          Owner’s name and address                            Location of the property                       Description of the property                     Value

         SUPERBOLT, CORP.                                     DEBTOR’S WAREHOUSE                            LOT OF NUTS AND BOLTS                              $10,000.00
      Name
         P.O. BOX 367385
         Street                                               Catano, PR 00962


         San Juan                   PR        00936
      City                           State    ZIP Code




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 Part 12: Details About Environmental Information



      For the purpose of Part 12, the following definitions apply:
             Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
             affected (air, land, water, or any other medium).
             Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
             or utilized.
             Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
             substance.
      Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Provide details below.

          Case title                                     Court or agency name and address                     Nature of the case                             Status of case

                                                                                                                                                            ❑Pending
          Case number
                                                       Name
                                                                                                                                                            ❑On appeal
                                                                                                                                                            ❑Concluded
                                                       Street




                                                       City                           State    ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


          Site name and address                          Governmental unit name and address                   Environmental law, if known                    Date of notice


      Name                                             Name


         Street                                        Street




      City                     State    ZIP Code       City                           State    ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.

          Site name and address                          Governmental unit name and address                   Environmental law, if known                    Date of notice


      Name                                             Name


         Street                                        Street




      City                     State    ZIP Code       City                           State    ZIP Code




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 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
     even if already listed in the Schedules.
     ✔None
     ❑

              Business name and address                   Describe the nature of the business                     Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
    25.1.
                                                                                                                EIN:            –
             Name
                                                                                                                  Dates business existed
             Street
                                                                                                                 From                    To



             City                 State   ZIP Code


 26. Books, records, and financial statements

    26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
               Name and address                                                                                    Dates of service

    26a.1.     ASTOR MUNOZ, ANNIE                                                                                 From Mar 16, 2009       To
              Name
               500 CARR. 869
              Street



               Catano, PR 00962
              City                                            State                     ZIP Code



    26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
              financial statement within 2 years before filing this case.
              ❑None
               Name and address                                                                                    Dates of service

    26b.1.     CPA ALFREDO LOPEZ-JIMENEZ                                                                          From Jan 01, 2007       To
              Name
               PMB 654, BOX 4956
              Street



               Caguas, PR 00726
              City                                            State                     ZIP Code



    26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
              ❑None




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              Name and address                                                                       If any books of account and records are
                                                                                                     unavailable, explain why
    26c.1.
             ASTOR MUNOZ, ANNIE
             Name
             500 CARR. 869
             Street



             Catano, PR 00962
             City                                    State                   ZIP Code




    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
         a financial statement within 2 years before filing this case.
         ❑None
              Name and address

    26d.1.   ORIENTAL BANK OF PR
             Name
             P.O. BOX 195115
             Street



             San Juan, PR 00919
             City                                    State                   ZIP Code

              Name and address

    26d.2.   BANCO POPULAR DE PR
             Name
             PO BOX 362708
             Street



             SAN JUAN, PR 00922-0378
             City                                    State                   ZIP Code

              Name and address

    26d.3.   DEPARTMENT OF STATE OF PUERTO RICO
             Name


             Street



             San Juan, PR 00901
             City                                    State                   ZIP Code

              Name and address

    26d.4.   TREASURY DEPARTMENT OF PUERTO RICO
             Name
             P.O. BOX 9022501
             Street



             SAN JUAN, PR 00902-2501
             City                                    State                   ZIP Code




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                  Name and address

    26d.5.      GENERAL SERVICES DEPARTMENT
                Name


                Street



                San Juan, PR 00901
                City                                           State                      ZIP Code

                  Name and address

    26d.6.      MUNIPALITY OF CATANO
                Name
                P.O. BOX 428
                Street



                Catano, PR 00963
                City                                           State                      ZIP Code

                  Name and address

    26d.7.      CRIM
                Name
                PO BOX 195378
                Street



                SAN JUAN, PR 00919-5387
                City                                           State                      ZIP Code

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     ❑No
     ✔Yes. Give the details about the two most recent inventories.
     ❑

    Name of the person who supervised the taking of the inventory                                Date of              The dollar amount and basis (cost, market, or
                                                                                                 inventory            other basis) of each inventory

    RAMON CORRETJER                                                                              Dec 31, 2017                                                $349,358.00


          Name and address of the person who has possession of inventory records

 27.1.   RAMON CORRETJER
         Name
         500 CARR. 869 501
         Street



         Catano, PR 00962
         City                                         State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

         Name                             Address                                                       Position and nature of any interest   % of interest, if any


         BARREDA, HENRY L.                500 CARR. 869 Catano, PR 00962                                PRESIDENT, SHAREHOLDER                50.00 %

         CARBONELL TORRES,                500 CARR. 869 Catano, PR 00962                                TREASURY, SHAREHOLDER                 50.00 %
         MIGUEL

         ASTOR MUNOZ, ANNIE               500 CARR. 869 Catano, PR 00962                                SUB-SECRETARY,                        0.00%



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 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
         Name                             Address                                                      Position and nature of any         Period during which
                                                                                                       interest                           position or interest was held



                                                                                                   ,                                         From
                                                                                                                                             To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ❑No
     ✔Yes. Identify below.
     ❑
             Name and address of recipient                                            Amount of money or                   Dates                 Reason for providing
                                                                                      description and value of                                   the value
                                                                                      property

    30.1.    SEE ATTACHED LIST
            Name


            Street



             , PR
            City                                      State          ZIP Code


             Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
            Name of the parent corporation                                                             Employer Identification number of the parent corporation

                                                                                                       EIN:            –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
            Name of the pension fund                                                                   Employer Identification number of the pension fund

                                                                                                       EIN:            –

 Part 14: Signature and Declaration




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      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


                  10/4/2018 12:00:00
      Executed on AM
                      MM/ DD/ YYYY




           ✘                         /s/ HENRY L. BARREDA
                Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                             PRESIDENT



         Printed name                        HENRY L. BARREDA



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ✔ No
           ❑
           ❑Yes




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Case:18-05288-ESL11 Doc#:29 Filed:10/04/18 Entered:10/04/18 22:06:34   Desc: Main
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